Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 1 of 167 PageID #: 1229




                            Exhibit A
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 2 of 167 PageID #: 1230
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 3 of 167 PageID #: 1231
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 4 of 167 PageID #: 1232
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 5 of 167 PageID #: 1233
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 6 of 167 PageID #: 1234
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 7 of 167 PageID #: 1235
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 8 of 167 PageID #: 1236
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 9 of 167 PageID #: 1237
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 10 of 167 PageID #: 1238
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 11 of 167 PageID #: 1239
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 12 of 167 PageID #: 1240
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 13 of 167 PageID #: 1241
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 14 of 167 PageID #: 1242
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 15 of 167 PageID #: 1243
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 16 of 167 PageID #: 1244
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 17 of 167 PageID #: 1245
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 18 of 167 PageID #: 1246
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 19 of 167 PageID #: 1247
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 20 of 167 PageID #: 1248
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 21 of 167 PageID #: 1249
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 22 of 167 PageID #: 1250
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 23 of 167 PageID #: 1251
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 24 of 167 PageID #: 1252
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 25 of 167 PageID #: 1253
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 26 of 167 PageID #: 1254
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 27 of 167 PageID #: 1255
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 28 of 167 PageID #: 1256
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 29 of 167 PageID #: 1257




                            Exhibit B
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 30 of 167 PageID #: 1258
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 31 of 167 PageID #: 1259
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 32 of 167 PageID #: 1260
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 33 of 167 PageID #: 1261
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 34 of 167 PageID #: 1262
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 35 of 167 PageID #: 1263
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 36 of 167 PageID #: 1264
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 37 of 167 PageID #: 1265
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 38 of 167 PageID #: 1266
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 39 of 167 PageID #: 1267
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 40 of 167 PageID #: 1268
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 41 of 167 PageID #: 1269
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 42 of 167 PageID #: 1270
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 43 of 167 PageID #: 1271
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 44 of 167 PageID #: 1272
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 45 of 167 PageID #: 1273
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 46 of 167 PageID #: 1274
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 47 of 167 PageID #: 1275
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 48 of 167 PageID #: 1276
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 49 of 167 PageID #: 1277
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 50 of 167 PageID #: 1278
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 51 of 167 PageID #: 1279
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 52 of 167 PageID #: 1280
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 53 of 167 PageID #: 1281
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 54 of 167 PageID #: 1282
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 55 of 167 PageID #: 1283
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 56 of 167 PageID #: 1284
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 57 of 167 PageID #: 1285
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 58 of 167 PageID #: 1286




                            Exhibit C
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 59 of 167 PageID #: 1287
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 60 of 167 PageID #: 1288
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 61 of 167 PageID #: 1289
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 62 of 167 PageID #: 1290
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 63 of 167 PageID #: 1291
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 64 of 167 PageID #: 1292
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 65 of 167 PageID #: 1293
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 66 of 167 PageID #: 1294
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 67 of 167 PageID #: 1295
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 68 of 167 PageID #: 1296
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 69 of 167 PageID #: 1297
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 70 of 167 PageID #: 1298
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 71 of 167 PageID #: 1299
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 72 of 167 PageID #: 1300
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 73 of 167 PageID #: 1301
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 74 of 167 PageID #: 1302
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 75 of 167 PageID #: 1303
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 76 of 167 PageID #: 1304
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 77 of 167 PageID #: 1305
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 78 of 167 PageID #: 1306
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 79 of 167 PageID #: 1307
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 80 of 167 PageID #: 1308
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 81 of 167 PageID #: 1309
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 82 of 167 PageID #: 1310
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 83 of 167 PageID #: 1311
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 84 of 167 PageID #: 1312
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 85 of 167 PageID #: 1313
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 86 of 167 PageID #: 1314
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 87 of 167 PageID #: 1315
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 88 of 167 PageID #: 1316
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 89 of 167 PageID #: 1317
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 90 of 167 PageID #: 1318
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 91 of 167 PageID #: 1319
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 92 of 167 PageID #: 1320
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 93 of 167 PageID #: 1321
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 94 of 167 PageID #: 1322
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 95 of 167 PageID #: 1323
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 96 of 167 PageID #: 1324
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 97 of 167 PageID #: 1325
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 98 of 167 PageID #: 1326
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 99 of 167 PageID #: 1327
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 100 of 167 PageID #: 1328
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 101 of 167 PageID #: 1329
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 102 of 167 PageID #: 1330
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 103 of 167 PageID #: 1331




                             Exhibit D
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 104 of 167 PageID #: 1332
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 105 of 167 PageID #: 1333
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 106 of 167 PageID #: 1334
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 107 of 167 PageID #: 1335
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 108 of 167 PageID #: 1336
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 109 of 167 PageID #: 1337
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 110 of 167 PageID #: 1338
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 111 of 167 PageID #: 1339
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 112 of 167 PageID #: 1340
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 113 of 167 PageID #: 1341
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 114 of 167 PageID #: 1342
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 115 of 167 PageID #: 1343
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 116 of 167 PageID #: 1344
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 117 of 167 PageID #: 1345
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 118 of 167 PageID #: 1346
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 119 of 167 PageID #: 1347
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 120 of 167 PageID #: 1348
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 121 of 167 PageID #: 1349
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 122 of 167 PageID #: 1350
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 123 of 167 PageID #: 1351
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 124 of 167 PageID #: 1352
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 125 of 167 PageID #: 1353
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 126 of 167 PageID #: 1354




                             Exhibit E
Case   1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 127 of 167 PageID #: 1355
Sanofi Mature IP v. Mylan Laboratories Limited, 757 Fed.Appx. 988 (2019)




                                                  757 Fed.Appx. 988
                       This case was not selected for publication in West's Federal Reporter.
                 See Fed. Rule of Appellate Procedure 32.1 generally governing citation of judicial
                decisions issued on or after Jan. 1, 2007. See also U.S.Ct. of App. Fed. Cir. Rule 32.1.
                                  United States Court of Appeals, Federal Circuit.

                                         SANOFI MATURE IP, Appellant
                                                    v.
                                     MYLAN LABORATORIES LIMITED, Appellee

                                                         2018-1203
                                                              |
                                                  Decided: February 5, 2019

Synopsis
Background: Patentee's assignee sought review of decision of the Patent Trial and Appeal Board that denied assignee's
contingent motion to amend certain claims at issue in an inter partes review requested by a competitor.



Holdings: The Court of Appeals, O'Malley, Circuit Judge, held that:

Board's error in placing burden on patentee's assignee to prove that its proposed amended claims were patentable was not
harmless error, and

preamble of one of patentee's assignee's proposed claims was limiting.


Vacated and remanded.

Procedural Posture(s): Review of Administrative Decision.

Appeal from the United States Patent and Trademark Office, Patent Trial and Appeal Board in No. IPR2016-00712.

Attorneys and Law Firms

Daniel John Minion, Venable LLP, New York, NY, argued for appellant. Also represented by William E. Solander, Katherine
Adams, Dominick A. Conde, Whitney Lynn Meier.

Matthew R. Reed, Wilson, Sonsini, Goodrich & Rosati, PC, Palo Alto, CA, argued for appellee. Also represented by Steven
William Parmelee, Michael T. Rosato, Jad Allen Mills, Seattle, WA; Wendy L. Devine, San Francisco, CA.

Before Prost, Chief Judge, O’Malley and Stoll, Circuit Judges.

Opinion

O’Malley, Circuit Judge.

 *989 This appeal involves U.S. Patent No. 8,927,592 (“the ’592 patent”), which is assigned to Sanofi Mature IP (“Sanofi”). 1
In an inter partes review requested by Mylan Laboratories Limited, the U.S. Patent Trial and Appeal Board (“Board”) invalidated
claims 1–5 and 7–30 of the ’592 patent. Mylan Labs. Ltd. v. Aventis Pharma S.A., IPR2016-712, 2017 WL 4221400, at *2



               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                          1
Case   1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 128 of 167 PageID #: 1356
Sanofi Mature IP v. Mylan Laboratories Limited, 757 Fed.Appx. 988 (2019)


(P.T.A.B. Sept. 21, 2017) (“’592 Decision”). The Board also denied Sanofi’s contingent motion to amend claims 27–30. Id.
Sanofi appeals the Board’s denial of its motion. Because we conclude that the Board improperly placed the burden of proof on
Sanofi to establish that its proposed claims were patentable and applied the wrong claim construction in its analysis, we vacate
its denial of the motion and remand for further proceedings consistent with this opinion.



                                                          I. BACKGROUND


                                                          A. The ’592 Patent

According to the ’592 patent, prostate cancer is generally treated with hormone deprivation. ’592 patent, col. 1, ll. 35–43. This
can include surgery, e.g. castration. Id. But if prostate cancer metastasizes, i.e. spreads to other parts of the body, then castration is
ineffective. And while other forms of hormone deprivation exist, the ’592 patent explains that they do not “improve[ ] ... survival
time.” Id. at col 1, ll. 40–43. Chemotherapy drugs, such as docetaxel, are therefore used, in combination with estramustine or
prednisone, to treat castration resistant, metastatic prostate cancers. Id. at col. 1, ll. 62–65. Even then, however, patients can
become resistant to docetaxel treatments. Id. at col. 2, ll. 11–13. These patients are then left with “limit[ed] ... possible treatment
options.” Id.

The ’592 patent purports to provide these patients—“patients with castration resistant metastatic prostate cancer who have been
previously treated with docetaxel”—with a new treatment option. Id. at col. 2, ll. 18–24. This treatment involves administering
an antitumoral agent, cabazitaxel, in combination with a corticoid such as prednisone or prednisolone. Id. at col. 3, ll. 1–5.



                                                         B. Procedural History

On March 15, 2016, Mylan petitioned for inter partes review of claims 1–5 and 7–30 of the ’592 patent. The Board instituted
review on all challenged claims.



                                                1. Sanofi Proposes Substitute Claims

On December 23, 2016, Sanofi filed an opposed motion to amend its claims by substituting proposed claims 31–34 for claims
27–30. See, e.g., J.A. 655 (“If original Claim 27 is found unpatentable, the Board is requested to replace it with proposed
substitute Claim 31.”). Proposed substitute claim 31 recites:



             31. A method of increasing survival comprising administering to a patient in need thereof (i) an
             antihistamine, (ii) a corticoid, (iii) an H2 antagonist, and (iv) a dose of 20 to 25 mg/m2 of cabazitaxel,
              *990 or a hydrate or solvate thereof, wherein said antihistamine, said corticoid, and said H2 antagonist
             are administered prior to said dose of 20 to 25 mg/m2 of cabazitaxel, or hydrate or solvate thereof, in
             combination with prednisone or prednisolone, wherein said patient has castration resistant or hormone
             refractory, metastatic prostate cancer that has progressed during or after treatment with docetaxel.



J.A. 681 (emphases added).

Proposed claim 31, like claim 27, requires administering cabazitaxel, in combination with prednisone or prednisolone, to a
patient with castration resistant or hormone refractory metastatic prostate cancer who has progressed during or after treatment


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                    2
Case   1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 129 of 167 PageID #: 1357
Sanofi Mature IP v. Mylan Laboratories Limited, 757 Fed.Appx. 988 (2019)


with docetaxel. But, as the Board noted, “[s]ubstitute claim 31 amends the preamble [of claim 27] to recite a ‘method of
increasing survival’ followed by ‘comprising administering to a patient in need thereof.’ ” ’592 Decision, 2017 WL 4221400,
at *28. Proposed claim 31 also limits claim 27 by requiring the administration of an antihistamine, a corticoid, and an H2
antagonist prior to administering the cabazitaxel. Id.

Proposed claims 32–34 depend directly from proposed claim 31. These dependent claims do not differ from claims 28–30 in
any way that is relevant to this appeal. 2



                                                    2. The Board’s Decision

On September 21, 2017, the Board issued its final written decision. First, the Board invalidated claims 1–5 and 7–30 of the ’592
patent for obviousness. ’592 Decision, 2017 WL 4221400, at *2. Sanofi has not appealed this aspect of the Board’s decision.
Additionally, the Board denied Sanofi’s contingent motion to amend because, according to the Board, Sanofi failed to establish
that its proposed claims would be patentable. Id. at *28.

In addressing Sanofi’s motion, the Board concluded that the preamble of proposed claim 31 was the only phrase requiring
explicit construction. Id. at *29. Sanofi argued that the preamble—“[a] method of increasing survival”—was a “statement of
intentional purpose for how the method is to be performed,” as we described in Jansen v. Rexall Sundown, Inc., 342 F.3d
1329, 1333 (Fed. Cir. 2003). Id. The Board disagreed, distinguishing Jansen in favor of Bristol–Myers Squibb Co. v. Ben Venue
Laboratories, Inc., 246 F.3d 1368, 1375–78 (Fed. Cir. 2001). Id. at *30 (“Bristol–Myers Squibb is relevant precedent and stands
for the proposition that a method of treatment preamble stating the intended purpose of the treatment does not impose a result
limitation on the recited method step.”). The Board therefore concluded that the preamble of proposed claim 31 should not be
treated as limiting because it merely provides “additional description,” as in Bristol-Myers Squibb, rather than an “intentional
purpose for how the treatment method is to be practiced,” as in Jansen. Id. (internal quotation marks omitted). And, while
Sanofi invited the Board to treat its claim construction arguments as a disclaimer, the Board declined to do so. Id. (citing Tempo
Lighting, Inc. v. Tivoli, LLC, 742 F.3d 973, 978 (Fed. Cir. 2014) ).

On the merits, Sanofi argued “that the prior art d[id] not disclose or suggest that 20–25 mg/m2 of cabazitaxel in combination
with prednisone or prednisolone would increase overall survival,” as required by the preamble to claim 31. Id. at 31. The Board
rejected this argument based on its construction *991 of proposed claim 31, i.e. that the preamble was not limiting. Id.

Sanofi also argued that a skilled artisan would not have been motivated to use the claimed premedication regimen—
administration of an antihistamine, a corticoid, and an H2 antagonist—prior to cabazitaxel therapy. Id. The Board rejected this
argument as well. Id.

On October 4, 2017, we issued our en banc decision in Aqua Products, Inc. v. Matal, 872 F.3d 1290 (Fed. Cir. 2017) (en banc).
A few days later, the Board offered Sanofi additional time to request rehearing in view of Aqua Products. J.A. 16653–54. Sanofi
did not request rehearing.

Sanofi timely filed a notice of appeal from the Board’s final written decision. This Court has jurisdiction pursuant to 28 U.S.C.
§ 1295(a)(4)(A) and 35 U.S.C. § 141(c).



                                                       II. DISCUSSION

Sanofi argues that the Board erroneously placed the burden of proof on Sanofi to show that its proposed claims would be
patentable. Sanofi also appeals the Board’s construction of proposed claim 31, along with the Board’s ultimate conclusion that




                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                            3
Case   1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 130 of 167 PageID #: 1358
Sanofi Mature IP v. Mylan Laboratories Limited, 757 Fed.Appx. 988 (2019)


the proposed claims would be unpatentable. For the following reasons, we agree that the Board erred in requiring Sanofi to
prove that its proposed claims would be patentable and in construing the proposed claims.



                                                         A. Burden of Proof

In an inter partes review, the petitioner bears the burden of proving that proposed amended claims are unpatentable. Aqua Prods.,
872 F.3d at 1327–28. But in deciding whether Sanofi could amend its claims here, the Board expressly required Sanofi to prove
that its proposed substitute claims were patentable. ’592 Decision, 2017 WL 4221400, at *28 (“As the moving party, [Sanofi]
bears the burden of proving patentability of each proposed substitute claim ... we conclude that [Sanofi] has not met its burden
with respect to the proposed substitute claims.”). This was error. See Aqua Prods., 872 F.3d at 1327–28.

Even so, Mylan maintains that the Board’s error was harmless because the Board “found that [Mylan] satisfied the burden of
showing the proposed substitute claims are unpatentable by a preponderance of the evidence.” Appellee Br. at 58. We disagree.
While the Board at times suggested Mylan had “establish[ed]” certain facts, it also noted other failures of proof and gaps in
Mylan’s expert testimony. ’592 Decision, 2017 WL 4221400, at *31–32. We therefore decline to speculate as to how the Board
would resolve this case under the correct legal standard. See, e.g., Sirona Dental Sys. GmbH v. Institut Straumann AG, 892 F.3d
1349, 1357 (Fed. Cir. 2018) (vacating and remanding for the Board to reconsider the evidence after Aqua Products); Bosch
Auto. Serv. Sols., LLC v. Matal, 878 F.3d 1027, 1040 (Fed. Cir. 2017), as amended on reh’g in part (Mar. 15, 2018) (same);
Silver Peak Sys., Inc. v. Matal, 698 F. App'x 1036 (Fed. Cir. 2017) (same).

Mylan also contends that remand is inappropriate because Sanofi did not seek rehearing of the Board’s decision. But Sanofi
was not required to request rehearing. See In re Magnum Oil Tools Int’l, Ltd., 829 F.3d 1364, 1377 (Fed. Cir. 2016) (“Nowhere
does the statute granting parties the right to appeal a final written decision in an [inter partes review] require that the party first
file a request for rehearing before the Board....”); see also 35 U.S.C. § 141(c). Sanofi therefore did not waive this issue. And,
to the extent Mylan’s argument is premised on administrative exhaustion, *992 it is similarly unpersuasive. Compare Darby
v. Cisneros, 509 U.S. 137, 154, 113 S.Ct. 2539, 125 L.Ed.2d 113 (1993) (“[W]here the [Administrative Procedure Act] applies,
an appeal to ‘superior agency authority’ is a prerequisite to judicial review only when expressly required by statute or when
an agency rule requires appeal before review and the administrative action is made inoperative pending that review.”), with
35 U.S.C. § 141(c) (imposing no such requirement). We therefore vacate the Board’s denial of Sanofi’s contingent motion to
amend and remand for proceedings consistent with our decision in Aqua Products.



                                                       B. Claim Construction

We review the Board’s conclusions of law de novo and its findings of fact for substantial evidence. In re Gartside, 203 F.3d 1305,
1316 (Fed. Cir. 2000). This framework also applies to claim construction. PPC Broadband, Inc. v. Corning Optical Commc’ns
RF, LLC, 815 F.3d 747, 751 (Fed. Cir. 2016). We therefore conduct a de novo review of the Board’s determination of the broadest
reasonable interpretation of the claims, reviewing any underlying factual findings for substantial evidence. 3 Id.

A claim’s preamble may be limiting “if it recites essential structure or steps, or if it is ‘necessary to give life, meaning, and
vitality’ to the claim.” Catalina Mktg. Int'l, Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002) (quoting Pitney
Bowes, Inc. v. Hewlett-Packard Co., 182 F.3d 1298, 1305 (Fed. Cir. 1999) ). But, generally, “a preamble is not limiting ‘where
a patentee defines a structurally complete invention in the claim body and uses the preamble only to state a purpose or intended
use for the invention.’ ” Id. (quoting Rowe v. Dror, 112 F.3d 473, 478 (Fed. Cir. 1997) ).

Sanofi argues that the preamble of proposed claim 31 is limiting based on our decisions in Rapoport v. Dement, 254 F.3d 1053
(Fed. Cir. 2001) and Jansen. We agree.




                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                 4
Case   1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 131 of 167 PageID #: 1359
Sanofi Mature IP v. Mylan Laboratories Limited, 757 Fed.Appx. 988 (2019)


In Rapoport, the claims recited “[a] method for treatment of sleep apneas comprising administration of a therapeutically effective
regimen of a Formula I azapirone compound ... to a patient in need of such treatment.” 254 F.3d at 1056. After noting the parties’
agreement that the preamble should be limiting, we concurred, explaining that the preamble—“[a] method for treatment of sleep
apneas”—was limiting there because “without treating the phrase ‘treatment of sleep apneas’ as a claim limitation, the phrase
‘to a patient in need of such treatment’ would not have a proper antecedent basis.” Id. at 1059. We then concluded that the most
natural interpretation of “[a] method for treatment of sleep apneas” in this context was that the method—administering a certain
compound—must be practiced to achieve the purpose stated in the preamble. Id. at 1058–61 (construing the preamble phrase
“treatment of sleep apneas” and then concluding that a certain reference did not anticipate because it was not “administered
to patients suffering from sleep apnea with the intent to cure the underlying condition”); see also Jansen, 342 F.3d at 1333
(discussing Rapoport).

*993 Although it was undisputed in Rapoport that the preamble was limiting, when confronted with similar claims in Jansen,
we reached the same result. In Jansen, the relevant claim recited:



            1. A method of treating or preventing macrocytic-megaloblastic anemia in humans which anemia is
            caused by either folic acid deficiency or by vitamin B12 deficiency which comprises administering a
            daily oral dosage of a vitamin preparation to a human in need thereof comprising at least about 0.5 mg.
            of vitamin B12 and at least about 0.5 mg. of folic acid.



Jansen, 342 F.3d at 1330 (emphases added). Based in part on this claim language, and Rapoport, we reasoned that the preamble
—“[a] method of treating or preventing macrocytic-megaloblastic anemia”—was limiting because it articulated the “purpose
for which the method must be performed.” Id. at 1333.


Jansen and Rapoport support a conclusion that the preamble is limiting here. 4 As in Rapoport, the phrase “patient in need
thereof” from proposed claim 31 relies on the preamble for antecedent basis. 254 F.3d at 1059. And, as in Jansen, the preamble
expresses the “intentional purpose[—increasing survival—]for which the method must be performed.” 342 F.3d at 1333. We
therefore “interpret the nearly parallel language in the [’592] patent claims in the same way.” Id.

Our conclusion is also consistent with the specification of the ’529 patent, which emphasizes increasing survival as an important
aspect of the invention. Example 1 of the patent, for instance, describes a clinical study where patients with castration resistant
metastatic prostate cancer who had previously been treated with docetaxel received either treatment with cabazitaxel or
mitoxantrone (an antitumor antibiotic), each combined with either prednisone or prednisolone. ’529 patent at col. 10, ll. 30–
34, 44–45. In discussing the results of this study, the ’529 patent highlights that patients in the cabazitaxel group demonstrated
increased overall survival rates compared to patients treated with mitoxantrone and prednisone. Id. at col. 11, ll. 26–37 (“The
median survival for patients in the cabazitaxel group was 15.1 months in comparison to 12.7 months in the mitixantrone group.”);
see also id. at col 1, ll. 40–43 (criticizing various prior art hormone deprivation therapies because they did not “improve[ ] ...
survival time”).

Mylan’s attempts to distinguish Jansen and Rapoport are unpersuasive, and its reliance on Bristol-Myers Squibb is misplaced.
In Bristol-Myers Squibb, we concluded that the claim language “strongly suggest[ed] the independence of the preamble from
the body of the claim.” Bristol-Myers Squibb, 246 F.3d at 1375. But here, the claim language suggests the opposite. Indeed,
there is a direct link between the claim as a whole and the preamble, which provides an antecedent basis for “in need thereof.”
See Rapoport, 254 F.3d at 1059.

Mylan’s reliance on the ’529 patent’s prosecution history is also unavailing. According to Mylan, the decision to delete
the phrases “effective amount” and “clinically proven effective amount” from claim 1 and claim 24 (issued as claim 27),
respectively, *994 reflected an “accept[ance] that the claimed methods did not require ‘an effect on the cancer to be treated.’ ”


               © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                              5
Case   1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 132 of 167 PageID #: 1360
Sanofi Mature IP v. Mylan Laboratories Limited, 757 Fed.Appx. 988 (2019)


Appellee Br. at 27. Mylan therefore argues that the claims do not require the administered doses to have any effect on the patient.
Id. But these phrases were deleted to specify the clinically effective doses, not to suggest that their effects were irrelevant. J.A.
4111–16; J.A. 1859. And Mylan conflates concepts of curing cancer or sending it into remission with longer survival while the
cancer remains intact. Regardless, the proposed claims would now clearly require “increasing survival.” J.A. 681. 5

Ultimately, the patent owner’s proposed claim 31 closely mirrors language from cases, such as Jansen and Rapoport, which we
have treated as limiting. The Board erred by treating the preamble here as non-limiting. On remand, the Board should therefore
treat the preamble as an additional limitation of proposed claim 31.



                                                        III. CONCLUSION

For the reasons stated above, we vacate the Board’s denial of Sanofi’s contingent motion to amend and its construction of the
proposed substitute claims and we remand for further consideration consistent with this opinion.

VACATED AND REMANDED



                                                              COSTS

No costs.


All Citations

757 Fed.Appx. 988




                                                            Footnotes


1      This appeal was originally filed by Aventis Pharma S.A. On January 24, 2019, Aventis filed an unopposed motion to
       substitute Sanofi Mature IP, which acquired the ’592 patent during this appeal, as the named party in this case. On
       January 28, 2019, we granted this request. Thus, although Aventis was the original named party, we will refer to Sanofi
       throughout this opinion for clarity.
2      Proposed claims 32 and 34 are substantively identical to claims 28 and 30. Proposed claim 33, however, additionally
       requires the cabazitaxel regimen to be administered with an antihistamine, corticoid, and H2 antagonist. J.A. 682.
3      The U.S. Patent and Trademark Office has indicated it intends to apply the Phillips claim construction standard to
       petitions filed on or after November 13, 2018. See Changes to the Claim Construction Standard for Interpreting Claims
       in Trial Proceedings Before the Patent Trial and Appeal Board, 83 Fed. Reg. 51,340 (Oct. 11, 2018) (to be codified
       at 37 C.F.R. pt. 42). Because Mylan filed its petition before November 13, 2018, we apply the broadest reasonable
       interpretation standard here (as the Board did below).
4      To the extent the Board disregarded Jansen simply because it was on appeal from a district court, ’529 Decision, 2017
       WL 4221400 at *30 (“Jansen is distinguishable from the present case because it was an infringement case....”), it erred.
       Claim construction standards vary between district court litigations and inter partes reviews, but basic principles of
       construction do not. Cf. Power Integrations, Inc. v. Lee, 797 F.3d 1318, 1326 (Fed. Cir. 2015).
5      Alternatively, Sanofi argues that the prosecution history here supports its proposed construction because its contingent
       motion to amend constitutes a clear and unmistakable disclaimer of any embodiments lacking the purpose limitation.
       Mylan argues that this is not clear disclaimer. Regardless of whether Sanofi’s motion to amend constitutes a clear and


                © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                               6
Case   1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 133 of 167 PageID #: 1361
Sanofi Mature IP v. Mylan Laboratories Limited, 757 Fed.Appx. 988 (2019)


      unmistakable disclaimer, we conclude that it is at least relevant to the inquiry and favors treating the preamble as limiting.
      Cf. Bristol-Myers, 246 F.3d at 1375 (“[T]his is not a case in which a new use of a process should be considered to be a
      limitation because that new use distinguishes the process over the prior art....”).

End of Document                                                     © 2020 Thomson Reuters. No claim to original U.S. Government Works.




              © 2020 Thomson Reuters. No claim to original U.S. Government Works.                                                    7
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 134 of 167 PageID #: 1362




                             Exhibit F
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 135 of 167 PageID #: 1363

      Trials@uspto.gov                                              Paper 112
      Tel: 571-272-7822                              Entered: October 22, 2019


             UNITED STATES PATENT AND TRADEMARK OFFICE


              BEFORE THE PATENT TRIAL AND APPEAL BOARD


                      MYLAN LABORATORIES LIMITED,
                               Petitioner,

                                        v.
                            AVENTIS PHARMA S.A.,
                                Patent Owner.


                               Case IPR2016-00712
                               Patent 8,927,592 B2



      Before ZHENYU YANG, TINA E. HULSE, and
      CHRISTOPHER M. KAISER, Administrative Patent Judges.

      KAISER, Administrative Patent Judge.


                   FINAL WRITTEN DECISION ON REMAND
                     35 U.S.C. § 318(a); 37 C.F.R. § 42.73(a)
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 136 of 167 PageID #: 1364

      IPR2016-00712
      Patent 8,927,592 B2
                                   INTRODUCTION
            A. Background
            Mylan Laboratories Limited (“Petitioner”) filed a Petition requesting
      an inter partes review of claims 1–5 and 7–30 of U.S. Patent No. 8,927,592
      (Ex. 1001, “the ’592 patent”). Paper 3 (“Petition” or “Pet.”). Petitioner
      supported its challenge with the Declaration of Dr. Rahul Seth. Ex. 1002.
      Aventis Pharma S.A. (“Patent Owner”) filed a Preliminary Response to the
      Petition. Paper 7 (“Prelim. Resp.”). On September 22, 2016, the Board
      instituted an inter partes review of claims 1–5 and 7–30 of the ’592 patent.
      Paper 9 (“Institution Decision”).
            After institution, Patent Owner filed a Response (Paper 21, “PO
      Resp.”) and a Contingent Motion to Amend claims 27–30 of the ’592 patent
      (Paper 22, “MTA”). Patent Owner supported its Response and MTA with
      the Declaration of Dr. Alton Oliver Sartor (Ex. 2176), the Declaration of Mr.
      Michael Tate (Ex. 2149), and the Declaration of Mr. Art Lathers (Ex. 2231).
            Petitioner filed a Reply (Paper 42, “Reply”) and Opposition to Patent
      Owner’s MTA (Paper 43, “MTA Opp.” 1). Petitioner supported its Reply
      and MTA Opposition with the Reply Declaration of Dr. Seth (Ex. 1043), and
      the Declaration of Mr. Robert McSorley (Ex. 1044). 2




      1
        Petitioner filed the MTA Opposition under seal, subject to the Board’s
      ruling on Petitioner’s Motion to Seal (Paper 45). Petitioner filed a redacted
      public version of the MTA Opposition as Paper 44.
      2
        Petitioner filed Dr. Seth’s Reply Declaration and Mr. McSorley’s
      Declaration under seal, subject to the Board’s ruling on Petitioner’s Motion
      to Seal (Paper 45). Petitioner filed redacted public versions of the
      declarations using the same respective exhibit numbers.

                                            2
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 137 of 167 PageID #: 1365

      IPR2016-00712
      Patent 8,927,592 B2
            Patent Owner filed a Reply to Petitioner’s Opposition to Patent
      Owner’s MTA. Paper 53 (“MTA Reply”). 3 Patent Owner supported its
      MTA Reply with the Reply Declaration of Dr. Sartor (Ex. 2259) and the
      Declaration of Patricia Matthews, RN, BSN (Ex. 2234).
            Patent Owner filed Observations (Paper 80) on the cross-examination
      testimony of Dr. Seth (Ex. 2258) regarding Petitioner’s Reply (Paper 42),
      and Petitioner filed a response to Patent Owner’s Observations (Paper 93).
      Patent Owner also filed Observations (Paper 81 (under seal), Paper 82
      (public version)) on the cross-examination testimony of Mr. McSorley (Ex.
      2261) regarding Petitioner’s Reply (Paper 42), and Petitioner filed a
      response to Patent Owner’s Observations (Paper 92 (under seal), Paper 94
      (public version)).
            Petitioner filed Observations (Paper 84) on the cross-examination
      testimony of Dr. Sartor (Ex. 1098) with respect to Patent Owner’s MTA, and
      Patent Owner filed a Response (Paper 90).
            An oral hearing was held on June 13, 2017, and a transcript of the oral
      hearing is of record. Paper 98 (“Tr.”).
            On September 21, 2017, the Board issued a Final Written Decision
      (Paper 99, “Dec.”), in which it concluded that Petitioner had shown by a
      preponderance of the evidence that claims 1–5 and 7–30 of the ’592 patent
      were unpatentable and that Patent Owner had not shown by a preponderance
      of the evidence that proposed claims 31–34 were patentable. On November




      3
        Patent Owner filed the MTA Reply under seal, subject to the Board’s
      ruling on Patent Owner’s Motion to Seal (Paper 54). Patent Owner filed a
      redacted public version of the MTA Reply as Paper 52.

                                            3
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 138 of 167 PageID #: 1366

      IPR2016-00712
      Patent 8,927,592 B2
      17, 2017, Patent Owner appealed to the Court of Appeals for the Federal
      Circuit. Paper 103.
            On appeal, Patent Owner argued that the Board erred in denying its
      MTA. Sanofi Mature IP v. Mylan Labs. Ltd., 757 F. App’x 988, 989 (Fed.
      Cir. 2019). The Federal Circuit agreed, vacating the denial of the MTA and
      remanding. Id.
            On remand, Petitioner submitted a brief setting forth the issues for us
      to decide and its arguments on those issues. Paper 109 (“Pet. Remand Br.”).
      Patent Owner filed a responsive brief. Paper 110 (“PO Remand Br.”).
      Petitioner filed a reply. Paper 111 (“Pet. Remand Reply”).
            We have jurisdiction under 35 U.S.C. § 6, and we issue this Final
      Written Decision pursuant to 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73. For
      the reasons discussed below, we conclude that Petitioner has not established
      by a preponderance of the evidence that proposed claims 31–34 are
      unpatentable. Accordingly, we grant Patent Owner’s Motion to Amend
      claims 27–30 by replacing them with proposed claims 31–34.

            B. The Issues on Remand
            When Patent Owner appealed the earlier Final Written Decision, it
      noted that “the issues on appeal” included
            the Board’s determination of unpatentability of claims 21 and
            30 of U.S. Patent No. 8,927,592 (“the ’592 patent”) under
            35 U.S.C. § 103, including the Board’s determination and
            application of its construction of terms in those claims; the
            Board’s denial of Patent Owner’s Contingent Motion to Amend
            claims 27-30 with proposed substitute claims 31-34, including
            the Board’s determination and application of its construction of
            terms in proposed substitute claims 31-34; the constitutionality
            of the inter partes review proceeding as raised in Oil States
            Energy Services, LLC v. Greene’s Energy Group, 639 F. App’x


                                            4
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 139 of 167 PageID #: 1367

      IPR2016-00712
      Patent 8,927,592 B2
            639 (Fed. Cir. May 4, 2016), cert. granted, 85 U.S.L.W. 3578
            (U.S. June 12, 2017) (No. 16-712) that the Board’s findings in
            this proceeding and this proceeding itself violate due process;
            and any finding or determination supporting or related to these
            issues, as well as all other issues decided adversely to Aventis
            in any orders, decisions, rulings and opinions, all of which,
            taken together or independently, caused prejudicial harm to
            Aventis related to these issues.
      Paper 103, 1–2.
            Despite this extensive list of “issues on appeal,” the Federal Circuit’s
      decision on appeal addressed only the denial of the MTA. Sanofi, 757 F.
      App’x at 994 (“[W]e vacate the Board’s denial of Sanofi’s contingent
      motion to amend and its construction of the proposed substitute claims and
      we remand for further consideration consistent with this opinion.”).
      Because the Federal Circuit did not otherwise disturb the Board’s findings
      and conclusions, we need only decide whether to grant Patent Owner’s
      MTA. Accordingly, except to the extent that they are contradicted by any
      statement herein, we maintain the analysis, findings, and conclusions
      reached in the earlier Final Written Decision, which we incorporate by
      reference. See Paper 99.
            In opposing the MTA, Petitioner argues that the proposed claims are
      unpatentable on the following grounds:




                                            5
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 140 of 167 PageID #: 1368

      IPR2016-00712
      Patent 8,927,592 B2

           Statutory                      Basis                       Challenged
            Ground                                                      Claims
          § 103(a)     Winquist, 4 TROPIC Listing, 5 Pivot, 6 and    31–34
                       NCCN 7
          § 103(a)     Winquist, TROPIC Listing, Pivot, NCCN,        31–34
                       and Mita 8
          § 103(a)     Winquist, TROPIC Listing, Pivot, and any      31–34
                       one of Takenaka, 9 Hudis, 10 Trudeau, 11 or
                       the Taxol Label12

      4
        Eric Winquist et al., Open clinical uro-oncology trials in Canada, T HE
      CANADIAN JOURNAL OF UROLOGY, 15(1), 3942–49 (Feb. 2008) (Ex. 1009,
      “Winquist”).
      5
        Sanofi-Aventis, XRP6258 Plus Prednisone Compared to Mitoxantrone
      Plus Prednisone in Hormone Refractory Metastatic Prostate Cancer
      (TROPIC), CLINICALT RIALS.GOV (Oct. 23, 2008) (Ex. 1008, “TROPIC
      Listing”).
      6
        X. Pivot et al., A multicenter phase II study of XRP6258 administered as a
      1-h i.v. infusion every 3 weeks in taxane-resistant metastatic breast cancer
      patients, ANNALS OF ONCOLOGY, 19, 1547–52 (Apr. 23, 2008) (Ex. 1010,
      “Pivot”).
      7
        NCCN CLINICAL P RACTICE GUIDELINES IN ONCOLOGY: ANTIEMESIS (Feb.
      5, 2008) (Ex. 1045, “NCCN”).
      8
        Alain C. Mita et al., Phase I and Pharmacokinetic Study of XRP6258
      (RPR116258A), a Novel Taxane, Administered as a 1-Hour Infusion Every 3
      Weeks in Patients with Advanced Solid Tumors, CLIN. CANCER RES.
      2009:15(2), 723–30 (Jan. 15, 2009) (Ex. 1012, “Mita”).
      9
        Atsushi Takenaka et al., Combination chemotherapy with weekly docetaxel
      and estramustine for hormone refractory prostate cancer in Japanese
      patients, INT’L J. UROLOGY, 15, 106–09 (2008) (Ex. 1046, “Takenaka”).
      10
         Clifford A. Hudis et al., Phase II and Pharmocologic Study of Docetaxel
      as Initial Chemotherapy for Metastatic Breast Cancer, J. CLIN. ONCOLOGY,
      14, 58–65 (Jan. 1996) (Ex. 1048, “Hudis”).
      11
         Maureen E. Trudeau et al., Docetaxel in Patients with Metastatic Breast
      Cancer: A Phase II Study of the National Cancer Institute of Canada-
      Clinical Trials Group, J. CLIN. ONCOLOGY, 14, 422–28 (Feb. 1996) (Ex.
      1047, “Trudeau”).
      12
         MEAD JOHNSON ONCOLOGY P RODUCTS, T AXOL® (PACLITAXEL) INJECTION
      (Feb. 10, 2000) (Ex. 2093, “Taxol Label”).

                                              6
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 141 of 167 PageID #: 1369

      IPR2016-00712
      Patent 8,927,592 B2

        Statutory                        Basis                   Challenged
         Ground                                                    Claims
       § 103(a)      Winquist, TROPIC Listing, Pivot, Mita, and 31–34
                     any one of Takenaka, Hudis, Trudeau, or
                     the Taxol Label
       § 103(a)      Consent Form, 13 Pivot, and any one of     31–34
                     NCCN, Takenaka, Hudis, Trudeau, or the
                     Taxol Label
       § 103(a)      Consent Form, Pivot, Mita, and any one of 31–34
                     NCCN, Takenaka, Hudis, Trudeau, or the
                     Taxol Label
       § 102(b)      Public Use in the TROPIC Study             31–34
       § 101         Lack of Eligible Subject Matter            31–34
      MTA Opp. 7–21, 22–25; Pet. Remand Br. 7–25; Pet. Remand Reply 1–7.

            C. The ’592 Patent
            The ’592 patent, titled “Antitumoral Use of Cabazitaxel,” issued
      January 6, 2015, from an application filed April 26, 2012. Ex. 1001. The
      ’592 patent claims priority through an international application to a series of
      provisional applications, the earliest of which is dated October 29, 2009.
      Ex. 1001, at [60], [63]. The ’592 patent is directed to the use of cabazitaxel
      in the treatment of prostate cancer, particularly metastatic castration resistant
      prostate cancer (“mCRPC”). Id. at 1:19–26. Because cancer cells may
      develop resistance to docetaxel (“sold under the brand name
      ‘Taxotere®’” 14), administering cabazitaxel is intended to treat prostate

      13
         Sanofi Aventis, Minimum Information Required for Written Subject
      Information: A Randomized, Open Label Multi-Center Study of XRP6258 At
      25 mg/m2 in Combination With Prednisone Every 3 Weeks Compared to
      Mitoxantrone in Combination With Prednisone For the Treatment of
      Hormone Refractory Metastatic Prostate Cancer Previously Treated With A
      Taxotere®-Containing Regimen (Oct. 16, 2006) (Ex. 2182, “Consent
      Form”).
      14
         Ex. 1001, 2:23.

                                             7
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 142 of 167 PageID #: 1370

      IPR2016-00712
      Patent 8,927,592 B2
      cancer in patients with advanced metastatic disease that has progressed
      despite previous treatment with a docetaxel-based regimen. Id. at 2:61–67.
      Cabazitaxel is preferably administered in combination with a corticoid, such
      as prednisone or prednisolone, at a daily dose of 10 mg orally. Id. at 3:2–5.
            The chemical name for cabazitaxel is 4α-acetoxy-2α-benzoyloxy-5β,
      20-epoxy-lβ-hydroxy-7β, 10β-dimethoxy-9-oxo-ll-taxen-13α-yl(2R,3S)-3-
      tert-butoxycarbonylamino-2-hydroxy-3-phenylpropionate. Id. at 4:28–31.
      Cabazitaxel is a taxane compound, the chemical structure of which is
      depicted in the figure reproduced below:




      Id. at 4:8–26. The figure above shows the chemical structure of cabazitaxel.
      Id. Example 1 of the ’592 patent describes a large-scale (phase III)
      comparative clinical trial of mCRPC patients whose disease had progressed
      during or after docetaxel treatment, the docetaxel-refractory patients being
      treated with either 25 mg/m2 of cabazitaxel or 12 mg/m2 mitoxantrone, and
      10 mg/day of prednisone. Id. at 10:30–48. Patients receiving cabazitaxel
      and prednisone demonstrated a median overall survival that was 2.4 months
      longer than those receiving mitoxantrone and prednisone. Id. at 11:28–37,
      11:45–54. The claimed method is directed to administering cabazitaxel and


                                            8
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 143 of 167 PageID #: 1371

      IPR2016-00712
      Patent 8,927,592 B2
      a corticoid to prostate cancer patients whose disease has progressed in spite
      of previous docetaxel treatment. Id. at 5:33–67, 18:54–58, 20:25–30.

             D. Proposed Claims
             Patent Owner proposes replacing claims 27–30 with claims 31–34.
      The proposed claims recite:
             31. A method of increasing survival comprising administering
             to a patient in need thereof (i) an antihistamine, (ii) a corticoid,
             (iii) an H2 antagonist, and (iv) a dose of 20 to 25 mg/m2 of
             cabazitaxel, or a hydrate or solvate thereof, wherein said
             antihistamine, said corticoid, and said H2 antagonist are
             administered prior to said dose of 20 to 25 mg/m2 of
             cabazitaxel, or hydrate or solvate thereof, in combination with
             prednisone or prednisolone, wherein said patient has castration
             resistant or hormone refractory, metastatic prostate cancer that
             has progressed during or after treatment with docetaxel.
      MTA 27.
             32. The method according to claim 31, where the cabazitaxel,
             or hydrate or solvate thereof, is administered at a dose of 25
             mg/m2.
      Id.
             33. The method according to claim 31, comprising repeating the
             administration of said antihistamine, said corticoid, said H2
             antagonist, and said cabazitaxel, or hydrate or solvate thereof,
             as a new cycle every 3 weeks.
      Id. at 28.
             34. The method according to claim 31, where the cabazitaxel,
             or hydrate or solvate thereof, is administered at a dose of 20
             mg/m2.
      Id.




                                              9
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 144 of 167 PageID #: 1372

      IPR2016-00712
      Patent 8,927,592 B2
                                       ANALYSIS
            A. Claim Construction
            In an inter partes review, we construe claim terms in an unexpired
      patent according to their broadest reasonable construction in light of the
      specification of the patent in which they appear. 15 37 C.F.R. § 42.100(b)
      (2017); see Cuozzo Speed Techs. LLC v. Lee, 136 S. Ct. 2131, 2144 (2016)
      (upholding the use of the broadest reasonable interpretation standard).
      Claim terms generally are given their ordinary and customary meaning, as
      would be understood by one of ordinary skill in the art in the context of the
      entire disclosure. In re Translogic Tech., Inc., 504 F.3d 1249, 1257 (Fed.
      Cir. 2007). “[C]laim terms need only be construed ‘to the extent necessary
      to resolve the controversy.’” Wellman, Inc. v. Eastman Chem. Co., 642 F.3d
      1355, 1361 (Fed. Cir. 2011) (quoting Vivid Techs., Inc. v. Am. Sci. & Eng’g,
      Inc., 200 F.3d 795, 803 (Fed. Cir. 1999)).
            On remand, we have been instructed to treat the preamble of claim 31
      “as an additional limitation of” the claim that “require[s] ‘increasing
      survival’” as the “intentional purpose . . . for which the [recited] method
      must be performed.” Sanofi, 757 F. App’x at 993–94 (quoting Jansen v.
      Rexall Sundown, Inc., 342 F.3d 1329, 1333 (Fed. Cir. 2003)). As instructed,
      we adopt that construction of the preamble of claim 31.




      15
        A recent amendment to this rule does not apply here because the Petition
      was filed before November 13, 2018. See Changes to the Claim
      Construction Standard for Interpreting Claims in Trial Proceedings Before
      the Patent Trial and Appeal Board, 83 Fed. Reg. 51,340 (Oct. 11, 2018)
      (amending 37 C.F.R. § 100(b) effective November 13, 2018).

                                            10
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 145 of 167 PageID #: 1373

      IPR2016-00712
      Patent 8,927,592 B2
            B. Preliminary Issues
            In deciding a motion to amend, “if a patent owner files a motion to
      amend . . . and that motion meets the requirements of 35 U.S.C. § 316(d)
      (i.e., proposes a reasonable number of substitute claims, and the substitute
      claims do not enlarge scope of the original claims of the patent or introduce
      new matter),” then we must “determine whether the substitute claims are
      unpatentable by a preponderance of the evidence.” Memorandum,
      “Guidance on Motions to Amend in view of Aqua Products” (Nov. 21,
      2017) (available at http://go.usa.gov/xU6YV). “[I]f the entirety of the
      evidence of record before [us] is in equipoise as to the unpatentability of one
      or more substitute claims, [we] will grant the motion to amend with respect
      to such claims.” Id.
            For the reasons given in the earlier Final Written Decision, which
      were not disturbed on appeal, we find (1) that proposed substitute claims 31–
      34 are not broader than claims 27–30, which they replace, and (2) that Patent
      Owner has complied with our rules by proposing a reasonable number of
      substitute claims. Dec. 68. The record does not contain any argument that
      the proposed claims introduce new matter. MTA 1–25; MTA Opp. 1–25;
      MTA Reply 1–12; Pet. Remand Br. 1–25; PO Remand Br. 1–25; Pet.
      Remand Reply 1–7. Accordingly, we conclude that Patent Owner’s MTA
      meets the requirements of 35 U.S.C. § 316(d). We therefore proceed to
      consider whether the evidence of record shows that the proposed claims are
      unpatentable.

            C. Asserted Obviousness of Proposed Claims
            Petitioner argues that the subject matter of the proposed claims would
      have been obvious to a person of ordinary skill in the art given the teachings


                                            11
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 146 of 167 PageID #: 1374

      IPR2016-00712
      Patent 8,927,592 B2
      of several different combinations of the prior art of record. MTA Opp. 7–
      21, 22–25; Pet. Remand Br. 7–25; Pet. Remand Reply 1–7.

                1.    Requirement to Prove Reasonable Expectation of Success
            “An invention is not obvious just ‘because all of the elements that
      comprise the invention were known in the prior art.’” Broadcom Corp. v.
      Emulex Corp., 732 F.3d 1325, 1335 (Fed. Cir. 2013) (quoting Power-One,
      Inc. v. Artesyn Techs., Inc., 599 F.3d 1343, 1351 (Fed. Cir. 2010)). Instead,
      “a finding of obviousness at the time of invention requires a ‘plausible
      rational[e] as to why the prior art references would have worked together.’”
      Id. (quoting Power-One, 599 F.3d at 1352). In addition to a reason to
      combine the prior-art references, proving obviousness requires showing that
      a person of ordinary skill in the art would have had “a reasonable
      expectation of achieving what is claimed in the patent-at-issue.” Intelligent
      Bio-Systems, Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359, 1367 (Fed.
      Cir. 2016).
            Although both parties agree that proving the obviousness of the
      proposed claims requires showing such a reasonable expectation of success,
      they disagree about what is required to make such a showing. Because the
      preamble of claim 31 recites only the “intentional purpose . . . for which the
      [recited] method must be performed,” Sanofi, 757 F. App’x at 993,
      Petitioner argues that a reasonable expectation of success would be shown if
      the evidence of record proves that a person of ordinary skill in the art
      reasonably would have expected to be able to carry out the recited method
      steps with the intent of increasing survival. Pet. Remand Br. 15–18. Patent
      Owner argues that a reasonable expectation of success would be shown only
      if the evidence of record proves that a person of ordinary skill in the art


                                             12
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 147 of 167 PageID #: 1375

      IPR2016-00712
      Patent 8,927,592 B2
      reasonably would have expected carrying out the recited method steps to
      result in increased survival. PO Remand Br. 2–5. Patent Owner is correct
      with respect to the applicable standard for showing a reasonable expectation
      of success.
            In Sanofi v. Glenmark Pharmaceuticals Inc., the trial court was
      presented with a claim reciting a limitation setting forth the intended purpose
      for which its method must be performed and faced with the question of how
      the party challenging the validity of the claim could prove that a person of
      ordinary skill in the art would have had a reasonable expectation of success.
      204 F. Supp. 3d 665, 671–72, 687–96 (D. Del. 2016). Specifically, the
      claim at issue required performing the recited method steps with the
      intended purpose of “decreasing a risk of cardiovascular hospitalization.”
      Id. at 671–72. The court concluded that showing a reasonable expectation of
      success required proving that a person of ordinary skill in the art “would . . .
      have had a reasonable expectation that [the recited method] would reduce
      the risk of cardiovascular hospitalization.” Id. at 691. The Federal Circuit
      affirmed that this was the correct standard to apply. 16 Sanofi v. Watson
      Labs. Inc., 875 F.3d 636, 647 (Fed. Cir. 2017).


      16
         Petitioner argues that, in affirming the application of this standard, the
      Federal Circuit did not require it to be applied, merely finding that the
      appellants had accepted the standard. Pet. Remand Reply 2. This is
      incorrect. Although the Federal Circuit stated that the appellants had
      “accept[ed] the legal framework” applied in the case, the same appellants
      also argued that the trial court had “adopted an incorrect legal standard” and
      had applied “too high a standard for proving a reasonable expectation of
      success.” 875 F.3d at 646–47. Because of these arguments, it was necessary
      for the Federal Circuit to decide what the legal standard for proving a
      reasonable expectation of success should be, and it did so by affirming the
      standard applied by the district court.

                                             13
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 148 of 167 PageID #: 1376

      IPR2016-00712
      Patent 8,927,592 B2
            Petitioner argues that applying the Sanofi standard would
      “impermissibly engraft[] increased survival results onto the scope of claims
      that merely require an intended purpose, not results.” Pet. Remand Br. 15.
      Petitioner is correct that the proposed claims do not require the achievement
      of any particular results, but Petitioner is wrong to suggest that the Sanofi
      standard requires proof of such results. The Federal Circuit clearly
      distinguished the standard actually applied in Sanofi—a reasonable
      expectation that the recited method would reduce the risk of cardiovascular
      hospitalization—from a hypothetical standard in which the district court
      would have “demand[ed] known certainty as to the objective of reduced
      hospitalization.” Sanofi, 875 F.3d at 647. Accordingly, to prove a
      reasonable expectation of success with respect to a claim that recites a
      limitation setting forth achieving a particular result as the intended purpose
      for which a recited method must be performed, what is required is not proof
      that the recited method would actually bring about the recited result, but
      rather proof that a person of ordinary skill in the art would have had a
      reasonable expectation that performing the recited method would bring
      about the recited result.
            Here, the Federal Circuit has instructed us to interpret the proposed
      claims as reciting an intended purpose of increasing survival. Sanofi, 757 F.
      App’x at 993–94. Thus, proving the obviousness of the challenged claims
      does not require proving that performing the method recited in the proposed
      claims would actually increase survival, but it does require proving that a
      person of ordinary skill in the art reasonably would have expected the
      performance of the recited method to increase survival.




                                            14
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 149 of 167 PageID #: 1377

      IPR2016-00712
      Patent 8,927,592 B2
                 2.    Whether a Reasonable Expectation of Success Has Been
                       Shown
            On the issue of whether a person of ordinary skill in the art would
      have expected the method recited in the proposed claims to increase
      survival, there is evidence of record both to support Petitioner’s position and
      to refute it, but the preponderance of the evidence does not support
      Petitioner’s position.

                          a. Evidence That Is Neutral with Respect to a Finding
                             that a Person of Ordinary Skill in the Art Would Have
                             Expected Increased Survival
            As an initial matter, we note that the mere fact that the TROPIC study,
      a phase III clinical trial of cabazitaxel with the purpose of investigating
      overall survival, was underway at the time of the effective filing date of the
      ’592 patent does not prove that a person of ordinary skill in the art would
      have expected treatment with cabazitaxel to increase survival. In Sanofi v.
      Glenmark, as discussed above, the claims recited a limitation requiring as a
      purpose for which the recited method must be performed the reduction of
      risk of cardiovascular hospitalization, and a phase III clinical trial was
      ongoing with the primary endpoint of “the time to first hospitalization for
      cardiovascular reasons or death from any cause.” 204 F. Supp. 3d at 679.
      The district court found that the existence of this phase III trial did not
      support finding a reasonable expectation that the treatment being tested
      would result in a reduction in the risk of cardiovascular hospitalization. Id.
      at 691–92. Instead, the district court described the phase III trial as
      providing merely “a hypothesis that requires further testing,” and the court
      proceeded to evaluate the other evidence of record to determine whether a
      person of ordinary skill in the art reasonably would have expected the


                                             15
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 150 of 167 PageID #: 1378

      IPR2016-00712
      Patent 8,927,592 B2
      treatment in question to reduce the risk of cardiac hospitalization. Id. at
      689–96. The phase III study at issue here was similar, seeking to test the
      hypothesis that treatment with cabazitaxel would increase overall survival,
      rather than reasonably suggesting that an increase in overall survival was to
      be expected. Ex. 1008, 1; Ex. 1009, 3948; see Ex. 2258, 41:8–42:6 (at time
      of TROPIC study, person of ordinary skill in the art would “hope” for
      increased survival, rather than “expect[ing]” it). Accordingly, we find that
      the existence of a phase III study here similar to that at issue in Sanofi v.
      Glenmark does not speak to the question of whether a person of ordinary
      skill in the art would have expected the treatment recited in the proposed
      claims to increase survival.

                          b. Evidence Supporting a Finding that a Person of
                             Ordinary Skill in the Art Would Have Expected
                             Increased Survival
            There is some evidence of record that supports a finding that a person
      of ordinary skill in the art would have expected the treatment method recited
      in the proposed claims to have resulted in an increase in survival.

                                 (1) Dr. Seth’s Personal Belief at the Time
            Dr. Seth, Petitioner’s declarant, testified that, at the beginning of the
      TROPIC study, “we expected [cabazitaxel] to get FDA approval and it
      would increase overall survival.” Pet. Remand Br. 13–14 (quoting Ex. 2258,
      80:12–81:12). He also testified that “I thought we definitely would see a
      survival benefit” and that “we would see a definite benefit versus
      mitoxantrone.” Id. We note that Dr. Seth in this testimony is referring to his
      personal expectations, not to the expectations of a person of ordinary skill in
      the art. To the extent that Dr. Seth resembled a person of ordinary skill in
      the art, however, this testimony supports a finding that a person of ordinary

                                             16
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 151 of 167 PageID #: 1379

      IPR2016-00712
      Patent 8,927,592 B2
      skill in the art would have expected the treatment regimen in the TROPIC
      study to increase survival.

                                 (2) Dr. Seth’s Testimony that a Person of Ordinary
                                     Skill in the Art Would Have Thought
                                     Cabazitaxel Would Work
            Dr. Seth offers some testimony that speaks directly about the beliefs
      of a person of ordinary skill in the art. First, Dr. Seth testified that “the drug
      was known and was felt to be working at 20 or 25 mg/m2.” Pet. Remand Br.
      13–14 (quoting Ex. 2258, 43:17–20). Because Dr. Seth explains that, by
      “working” he means “effective in controlling [DRmCRPC] which would
      lead to an overall survival,” this testimony also supports a finding that a
      person of ordinary skill in the art would have expected cabazitaxel treatment
      to lead to an increase in survival.
            Petitioner also argues that Dr. Seth’s testimony, “20 to 25 mg/m2, they
      would feel like it would work,” was a statement that a person of ordinary
      skill in the art would have expected cabazitaxel to increase survival at the
      specified dose. Pet. Remand Br. 13–14 (purporting to quote Ex. 2258,
      45:18–20). This argument misrepresents Dr. Seth’s testimony as more
      certain about what a person of ordinary skill in the art would feel than it
      actually is. Dr. Seth’s actual testimony was, “I can’t really say what a
      [person of ordinary skill in the art] would feel, but 20 to 25 milligrams per
      meter squared, I feel we would feel that [would work].” Ex. 2258, 45:18–
      20. This testimony is quite equivocal; at most, it weakly supports a finding
      that a person of ordinary skill in the art would have expected cabazitaxel
      treatment to lead to an increase in survival.




                                             17
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 152 of 167 PageID #: 1380

      IPR2016-00712
      Patent 8,927,592 B2
                          c. Evidence Opposing a Finding that a Person of
                             Ordinary Skill in the Art Would Have Expected
                             Increased Survival
            In opposition to the evidence discussed above, the record also
      contains significant evidence that supports a finding that a person of
      ordinary skill in the art would not have expected the treatment method
      recited in the proposed claims to have resulted in an increase in survival.

                              (1) Dr. Seth’s and Dr. Sartor’s Testimony that a
                                  Person of Ordinary Skill in the Art Would Have
                                  Hoped For, but Not Expected, Increased
                                  Survival
            Both Dr. Seth and Dr. Sartor, Patent Owner’s declarant, testify that, at
      the time of the effective filing date of the ’592 patent, clinicians hoped that
      treatment with cabazitaxel would extend their patients’ lives. Ex. 1041,
      115:12–116:9 (in 2008, Dr. Sartor “hoped that the patients that [he was]
      giving cabazitaxel would have an extended life because of it”); Ex. 2258,
      51:6–20 (Dr. Seth stating that, “when you control your disease, you are in
      turn hoping that they get a progression-free survival which would lead to an
      increase in overall survival”). Petitioner argues that both Dr. Seth and Dr.
      Sartor testified that this hope for an increase in survival was the same as an
      expectation that the treatment would increase survival. Pet. Remand Br. 13
      (citing Ex. 1041, 115:12–116:9; Ex. 2258, 30:13–31:2). But neither
      declarant’s testimony actually supports this view.
            Dr. Sartor clearly agrees with the statement that he “hoped” his
      patients would have their lives extended by cabazitaxel treatment, but he just
      as clearly disagrees with the statement that he “intended” the treatment to
      have that effect, testifying that the results of the TROPIC study showing an
      increase in survival “surprised, delighted, [and] shocked” him. Ex. 1041,


                                             18
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 153 of 167 PageID #: 1381

      IPR2016-00712
      Patent 8,927,592 B2
      115:12–116:9. Dr. Seth testifies that “hope” and “expectation” are different
      terms, with “expectation” having a purely legal meaning and “hope” being
      the word that oncologists prefer. Ex. 2258, 30:13–31:2. To Dr. Seth,
      “hope” and “expectation” are such different concepts that he took issue with
      the continued use of the term “expectation” in the deposition questions
      presented to him. Id.; see also id. at 41:8–15 (in response to a question
      about whether a person of ordinary skill in the art “would expect” an
      increase in survival, responding that the person of ordinary skill in the art
      “would hope” to see such a result). Thus, given the evidence of record here,
      the fact that a person of ordinary skill in the art would have hoped that the
      method recited in the proposed claims would increase survival does not
      support a conclusion that that person also would have expected such a result.
      See also OSI Pharms., LLC v. Apotex Inc., No. 2018-1925, 2019 WL
      4892078, at *8 (Fed. Cir. Oct. 4, 2019) (“[H]ope that a potentially promising
      drug will treat a particular cancer is not enough to create a reasonable
      expectation of success . . . .”); Coalition for Affordable Drugs V LLC v.
      Biogen MA Inc., IPR2015-01136, Paper 23, 10–13 (PTAB Sept. 2, 2015)
      (because “a ‘hope’ may or may not come to pass,” the existence of a hope
      that a drug “will turn out to be useful for treating [a particular condition]”
      does not support finding a reasonable expectation of success).

                              (2) Evidence that a Person of Ordinary Skill in the
                                  Art Understood that Cabazitaxel Could Control
                                  mCRPC
            There is some evidence in the record that treatment with cabazitaxel
      could control mCRPC, but the parties disagree about whether an expectation
      that the recited treatment method would control cancer would have given
      rise to an expectation that the same method would have increased survival.


                                             19
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 154 of 167 PageID #: 1382

      IPR2016-00712
      Patent 8,927,592 B2
      For example, Petitioner directs us to evidence that Mita demonstrated a six-
      month period of progression-free survival. Pet. Remand Reply 3 (citing
      Paper 84, 2–3 (citing Ex. 1012, 727)). 17 Petitioner also directs us to
      evidence that Pivot taught a median overall survival of docetaxel-resistant
      metastatic breast cancer patients of 12.3 months. Id. (citing Ex. 1010, 1547).
      Petitioner argues that “controlling mCRPC long enough increases survival,”
      so the demonstration of disease control in the prior art means that a person
      of ordinary skill in the art would have expected an increase in survival with
      cabazitaxel treatment. Id. Patent Owner disagrees, arguing that an
      expectation of anti-cancer activity does not necessarily give rise to an
      expectation of an increase in survival. PO Remand Br. 6–9.
            We agree with Patent Owner. There is significant evidence of record
      that the indications of disease control in Mita were known by those of
      ordinary skill in the art not to correlate with increased survival. In Mita, the
      anti-cancer response in the patient showing the six-month progression-free
      survival to which Petitioner refers was shown by a drop in the level of
      prostate-specific antigen (PSA) and a partial radiologic response. Ex. 1012,
      725, 727. Dr. Sartor testifies that “it was well known . . . that PSA
      reductions were of questionable value, not necessarily indicative of the
      efficacy of a treatment, and may not reflect disease progression with certain
      agents.” Ex. 2176 ¶ 80. This testimony is supported by multiple pieces of
      documentary evidence in the record. Ex. 1013, 1507, Table 3 (PSA level
      improvements did not correlate with overall survival improvements);
      Ex. 2006, 673 (“it is worthwhile to consider the limitations of the PSA


      17
        We remind Petitioner that our rules do not permit this type of
      incorporation by reference. 37 C.F.R. § 42.6.

                                             20
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 155 of 167 PageID #: 1383

      IPR2016-00712
      Patent 8,927,592 B2
      response as a predictor of a survival benefit”); Ex. 2020, 217 (noting that
      PSA levels can fluctuate due to factors other than anti-cancer effect);
      Ex. 2030, 307 (“the only validated phase III endpoint in advanced prostate
      cancer, particularly CRPC, is overall survival”); Ex. 2111, 10–11 (reporting
      no increase in overall survival despite significant incidence of PSA
      reductions over 50%); Ex. 2126, 3944 (“surrogacy for any PSA-based
      endpoint could not be demonstrated”).
            As for the overall survival shown in Pivot, the evidence of record does
      not support a finding that a median overall survival of docetaxel-resistant
      metastatic breast cancer patients of 12.3 months would have been interpreted
      as an increase in survival. First, Pivot did not report the overall survival for
      a control group or any other group whose results could be compared with the
      12.3-month result. Ex. 1010, 1547–52. Accordingly, there is no way to
      determine from Pivot itself whether the overall survival reported in Pivot
      represented an increase, a decrease, or no significant change in overall
      survival. Petitioner argues that Dr. Sartor’s testimony that he would
      attribute success to cabazitaxel if it caused a patient to live for nine months
      means that the 12.3-month overall survival reported in Pivot must have
      represented an increase in survival. Paper 84 ¶ 4 (citing Ex. 1098, 400:4–
      401:24). But Dr. Sartor’s testimony expressly referred to how he would
      view a nine-month survival at the time of his testimony in 2017, not how he
      would have done so on the effective filing date of the ’592 patent. Ex. 1098,
      399:25–401:24. Accordingly, this testimony says nothing about whether a
      person of ordinary skill in the art would have interpreted Pivot’s results in
      such a way as to expect increased survival.




                                             21
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 156 of 167 PageID #: 1384

      IPR2016-00712
      Patent 8,927,592 B2
                                 (3) Evidence of Skepticism Regarding the TROPIC
                                     Study
            Given all this evidence that a person of ordinary skill in the art would
      have hoped that the TROPIC study would show an increase in survival but
      would not have expected such a result, we credit Dr. Sartor’s testimony that
      “it was a challenge to get the [TROPIC] study off the ground” because
      “some thought there was insufficient data with cabazitaxel in prostate cancer
      to safely move forward with a phase III study.” Ex. 2176 ¶ 93. We also
      credit Dr. Sartor’s testimony that, when the results of the TROPIC study
      ultimately were announced, “[p]ractitioners who had been aware of the
      existence of the study were surprised by the results.” Id. ¶ 187.

                          d. Conclusion
            We have weighed all the evidence discussed above, and we find that
      the preponderance of evidence of record does not show that, at the time of
      the effective filing date of the ’592 patent, a person of ordinary skill in the
      art reasonably would have expected the treatment regimen recited in the
      proposed claims to have resulted in an increase in patient survival.
      Accordingly, we conclude that the evidence of record does not establish the
      obviousness of the proposed claims on any ground.

            D. Asserted Anticipation of Proposed Claims
            Petitioner argues that “[c]laims 31–34 are anticipated under 35 U.S.C.
      § 102(b) by the public use of the claimed methods in the TROPIC Study.”
      MTA Opp. 21–22. Patent Owner argues, inter alia, that the invention of the
      proposed claims was not subject to the public-use bar at the time of the
      TROPIC study because “there is no evidence indicating that anyone




                                             22
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 157 of 167 PageID #: 1385

      IPR2016-00712
      Patent 8,927,592 B2
      involved with TROPIC (including the inventor) had determined that the
      claimed methods would work for their intended purpose.” MTA Reply 12.
            The public-use bar under 35 U.S.C. § 102(b) 18 acts as a bar to
      patentability when the invention was in public use more than one year before
      the date of the patent application and was ready for patenting. Invitrogen
      Corp. v. Biocrest Mfg. L.P., 424 F.3d 1374, 1380 (Fed. Cir. 2005). An
      invention is ready for patenting if either of two conditions applies: the
      invention has been reduced to practice or “the inventor ha[s] prepared
      drawings or other descriptions of the invention that were sufficiently specific
      to enable a person skilled in the art to practice the invention.” Pfaff v. Wells
      Elecs., Inc., 525 U.S. 55, 67–68 (1998).
            Petitioner asserts that the invention of the proposed claims “was
      ‘ready for patenting’ before 2009,” but Petitioner does not develop this
      argument or cite any evidence to support it. MTA Opp. 22. Nevertheless,
      we have considered whether the evidence of record supports a finding that
      the invention of the proposed claims was “ready for patenting” at the time of
      the TROPIC study. We determine that it does not.
            Proof of readiness for patenting due to reduction to practice requires
      proof that the inventor had “determined that the invention would work for its
      intended purpose.” In re Omeprazole Patent Litig., 536 F.3d 1361, 1373
      (Fed. Cir. 2008) (quoting Z4 Techs., Inc. v. Microsoft Corp., 507 F.3d 1340,
      1352 (Fed. Cir. 2007)). As discussed extensively above, the purpose of the


      18
        The ’592 patent cites a filing date of April 26, 2012, and it claims priority
      to applications filed as early as 2009. Ex. 1001, at [22], [60], [63].
      Regardless of which of these is the effective filing date of the ’592 patent, no
      date later than April 26, 2012, is possible. Accordingly, the pre-AIA version
      of 35 U.S.C. § 102 applies to the ’592 patent.

                                             23
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 158 of 167 PageID #: 1386

      IPR2016-00712
      Patent 8,927,592 B2
      TROPIC study was to determine whether treatment of mCRPC with
      cabazitaxel would increase survival. See, e.g., Ex. 2182, 2 (“The aim of this
      study is to determine whether [cabazitaxel] in combination with prednisone
      improves overall survival . . .”). The existence of a phase III study to
      determine whether the claimed treatment method would achieve the intended
      purpose is strong evidence that the inventor had not yet determined that the
      invention would work for its intended purpose. Omeprazole, 536 F.3d at
      1373–74. In the absence of any relevant evidence to the contrary cited by
      Petitioner, we find that the invention recited in the proposed claims had not
      yet been reduced to practice at the time of the TROPIC study.
            This leaves the issue of whether the claimed invention was ready for
      patenting by virtue of “the inventor ha[ving] prepared drawings or other
      descriptions of the invention that were sufficiently specific to enable a
      person skilled in the art to practice the invention.” Pfaff, 525 U.S. at 67–68.
      Neither party directs us to any evidence regarding this issue. MTA Opp. 22;
      MTA Reply 12. Further, we cannot find any evidence supporting a finding
      that, at the time of the TROPIC study itself, there was any description of the
      invention recited in the proposed claims that included the premedication
      steps. Petitioner relies solely on De Bono 19 for details regarding the practice
      followed in the TROPIC study, including the use of a premedication
      regimen comprising “an antihistamine, corticosteroid, . . . and histamine H2-
      antagonist.” MTA Opp. 21 (quoting Ex. 2055, 1150). But De Bono was not
      published until after the TROPIC study had been completed. Ex. 2055, 1147

      19
        Johann Sebastian de Bono et al., Prednisone plus cabazitaxel or
      mitoxantrone for metastatic castration-resistant prostate cancer progressing
      after docetaxel treatment: a randomised open-label trial, T HE LANCET, 376,
      1147–54 (Oct. 2, 2010) (Ex. 2055, “De Bono”).

                                            24
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 159 of 167 PageID #: 1387

      IPR2016-00712
      Patent 8,927,592 B2
      (showing “cutoff for the final analysis” of the TROPIC study as September
      25, 2009; showing publication date of October 2, 2010 for De Bono).
      Accordingly, De Bono was not a “description[] of the invention that [was]
      sufficiently specific to enable a person skilled in the art to practice the
      invention,” Pfaff, 525 U.S. at 67–68, at the time of the TROPIC study, the
      alleged public use of the claimed invention. As for documents in the record
      available at the time of the TROPIC study, Winquist, the TROPIC listing,
      and the patient consent form all lack any disclosure of the premedication
      steps recited in the proposed claims. Ex. 1008, 1–3; Ex. 1009, 3948;
      Ex. 2182, 1–8. Because the evidence of record does not support a finding
      that, at the time of the alleged public use, either (1) the invention of the
      proposed claims had been reduced to practice or (2) that “the inventor had
      prepared drawings or other descriptions of the invention that were
      sufficiently specific to enable a person skilled in the art to practice the
      invention,” Pfaff, 525 U.S. at 67–68, we find that the invention was not
      ready for patenting. Accordingly, the TROPIC study did not constitute a
      public-use bar to the proposed claims under 35 U.S.C. § 102(b).

            E. Asserted Lack of Patent-Eligible Subject Matter
            Petitioner argues that the proposed claims “are directed to a non-
      patent eligible mental process: intending to increase survival of a patient
      while administering a prior art method.” Pet. Remand Br. 25. Patent Owner
      disagrees, arguing that the proposed claims “are directed to a specific
      method of treatment for specific patients using a specific compound at
      specific doses to achieve a specific outcome.” PO Remand Br. 25.




                                             25
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 160 of 167 PageID #: 1388

      IPR2016-00712
      Patent 8,927,592 B2
                   1.   Principles of Law
             Section 101 defines patent-eligible subject matter as “any new and
      useful process, machine, manufacture, or composition of matter, or any new
      and useful improvement thereof.” 35 U.S.C. § 101. But courts have long
      held that laws of nature, natural phenomena, and abstract ideas are not
      patentable. Mayo Collaborative Servs. v. Prometheus Labs., Inc., 566 U.S.
      66, 70–71 (2012) (citing Diamond v. Diehr, 450 U.S. 175, 185 (1981)).
      These ineligible concepts are implicit exceptions to the statutory categories.
      Id. at 71.
             The Supreme Court articulated a two-step subject-matter eligibility
      test in Mayo and Alice Corp. v. CLS Bank International, 573 U.S. 208
      (2014). Alice/Mayo step one asks whether a claim is “directed to” a judicial
      exception. Alice, 573 U.S. at 217. In Alice/Mayo step two, we consider “the
      elements of each claim both individually and ‘as an ordered combination’ to
      determine whether the additional elements ‘transform the nature of the
      claim’ into a patent-eligible application.” Id. (quoting Mayo, 566 U.S. at 79,
      78). Step two is described as a search for an “inventive concept.” Id.
             The USPTO has published guidance on patent subject-matter
      eligibility. 2019 Revised Patent Subject Matter Eligibility Guidance,
      84 Fed. Reg. 50 (USPTO Jan. 7, 2019) (“Guidance”). Step 1 of the
      USPTO’s eligibility analysis asks whether the claimed subject matter falls
      within the four statutory categories of invention. Id.at 53–54. Under Step
      2A, Prong One, of the Guidance, we determine if the claim recites a judicial
      exception, including particular groupings of abstract ideas (i.e.,
      mathematical concepts, certain methods of organizing human activity, or
      mental processes). Id. at 52–53. If so, we then analyze the claim to



                                            26
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 161 of 167 PageID #: 1389

      IPR2016-00712
      Patent 8,927,592 B2
      determine whether the recited judicial exception is integrated into a practical
      application of that exception under Step 2A, Prong Two, of the Guidance.
      Id. at 53–55. Only if we conclude that the judicial exception is not
      integrated into a practical application do we conclude that the claim is
      directed to the judicial exception. In that case, we proceed to Step 2B and
      look to whether the claim adds a specific limitation beyond the judicial
      exception that is not “well-understood, routine, conventional activity in the
      field,” or whether the claim simply appends well-understood, routine,
      conventional activities previously known to the industry, specified at a high
      level of generality, to the judicial exception. Id. at 56.

                 2.    USPTO Step 1
            There are four categories of subject matter that Congress has deemed
      appropriate for patenting: processes, machines, manufactures, and
      compositions of matter. 35 U.S.C. § 101. These “four categories together
      describe the exclusive reach of patentable subject matter. If a claim covers
      material not found in any of the four statutory categories, that claim falls
      outside the plainly expressed scope of § 101 even if the subject matter is
      otherwise new and useful.” In re Nuijten, 500 F.3d 1346, 1354 (Fed. Cir.
      2007).
            Here, claim 31 recites the process step of administering a particular
      premedication regimen, followed by the process step of administering a
      particular drug treatment regimen, to a particular type of patient with the
      intended purpose of increasing survival. MTA 27. Claims 32–34 further
      restrict the process of claim 31 by narrowing the range of allowable doses or
      requiring a particular schedule for the repetition of claim 31’s process steps.
      Id. at 27–28. Accordingly, each of the proposed claims recites a process,


                                             27
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 162 of 167 PageID #: 1390

      IPR2016-00712
      Patent 8,927,592 B2
      which is “a mode of treatment of certain materials to produce a given
      result.” Gottschalk v. Benson, 409 U.S. 63, 70 (1972).

                3.    USPTO Step 2A, Prong One
            Having determined that the proposed claims fall within the four
      categories of § 101, we next must analyze whether the proposed claims
      recite a judicial exception to those four categories. Guidance, 84 Fed. Reg.
      at 51. The Guidance organizes the abstract-idea exception into the following
      subject-matter groupings: mathematical concepts, certain methods of
      organizing human activity (e.g., a fundamental economic practice), and
      mental processes. Id. at 52. The grouping of mental processes includes
      “concepts performed in the human mind (including an observation,
      evaluation, judgment, [or] opinion).” Id.
            Claim 31 recites the limitation “[a] method of increasing survival,”
      which the Federal Circuit has instructed us to interpret as “requir[ing]
      ‘increasing survival’” as the “intentional purpose . . . for which the [recited]
      method must be performed.” Sanofi, 757 F. App’x at 993–94; MTA 27.
      Petitioner argues that this limitation recites a method step that is a “purely
      mental” abstract idea. Pet. Remand Br. 25.
            For the purpose of this analysis, we agree. As the state of mind that
      must be adopted during the performance of the other steps of the claimed
      process, the “intentional purpose” limitation is in some sense a process step.
      And it certainly is “performed in the human mind,” as the step of possessing
      a particular intentional purpose is incapable of being performed in any other
      way. Accordingly, under Step 2A, Prong One, we find that claim 31 recites
      an abstract idea: a mental process. Because claims 32–34 incorporate the
      limitations of claim 31, 37 C.F.R. § 1.75(c), they also recite an abstract idea.


                                             28
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 163 of 167 PageID #: 1391

      IPR2016-00712
      Patent 8,927,592 B2
                 4.    USPTO Step 2A, Prong Two
            Reciting an abstract idea, however, is not the same as being directed
      to an abstract idea. The difference between the two concepts is that claims
      that recite an abstract idea but integrate it into a practical application are not
      directed to an abstract idea. Guidance, 84 Fed. Reg. at 53–55. Thus, having
      found that the claims recite a mental process, which is a type of abstract
      idea, we must proceed to determine whether the claims integrate that process
      into a practical application.
            Claim 31 recites a method in which a patient with “castration resistant
      or hormone refractory, metastatic prostate cancer that has progressed during
      or after treatment with docetaxel” is treated by first administering a
      particular premedication regimen (comprising “(i) an antihistamine, (ii) a
      corticoid, [and] (iii) an H2 antagonist”), then administering “a dose of 20 to
      25 mg/m2 of cabazitaxel, or a hydrate or solvate thereof, . . . in combination
      with prednisone or prednisolone.” MTA 27. These limitations, taken as a
      whole, integrate the mental process step of possessing a particular intended
      purpose (increasing survival) into an overall method of treatment. When a
      claim integrates a mental process step into a method of treatment, that claim
      is not directed to an abstract idea. Vanda Pharms. Inc. v. West-Ward
      Pharms., 887 F.3d 1117, 1134 (Fed. Cir. 2018) (finding that a claim reciting
      the mental process step of “determining whether the patient is a CYP2D6
      poor metabolizer” was nonetheless “directed to a method of using
      iloperidone to treat schizophrenia”). Accordingly, we find that claim 31 is
      not directed to the abstract idea that it recites. Because claims 32–34 further
      limit the process of claim 31, the same is true of those claims.




                                              29
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 164 of 167 PageID #: 1392

      IPR2016-00712
      Patent 8,927,592 B2
            None of the proposed claims is directed to a judicial exception to the
      four categories of § 101, and all of the proposed claims fall within the four
      categories of § 101. Accordingly, there is no need for us to proceed to
      determine whether any claim adds a specific limitation beyond the judicial
      exception that is not “well-understood, routine, conventional activity in the
      field.” We conclude that the proposed claims are not ineligible subject
      matter.

                                    CONCLUSION
            For the reasons given in the earlier Final Written Decision, we
      determine Petitioner has shown by a preponderance of the evidence that
      claims 1–5 and 7–30 of the ’592 patent are unpatentable, and we deny the
      parties’ motions to exclude evidence.
            For the reasons given above, we determine that the evidence of record
      does not prove that proposed substitute claims 31–34 are unpatentable.
      Therefore, we grant Patent Owner’s Contingent Motion to Amend claims
      27–30 by replacing them with proposed substitute claims 31–34.


       Reference(s)        Basis   Claims       Claims           Claims Not
                                                Shown            Shown
                                                Unpatentable Unpatentable
       Winquist,       § 103       1, 2, 5, 12, 1, 2, 5, 12, 13,
       TROPIC Listing,             13, 17–20,   17–20, 22–25,
       Attard, and                 22–25, 27–29 27–29
       Beardsley
       Winquist,       § 103       3, 4             3, 4
       TROPIC Listing,
       and Didier
       Winquist,       § 103       7–9              7–9
       TROPIC Listing,
       and Mita


                                            30
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 165 of 167 PageID #: 1393

      IPR2016-00712
      Patent 8,927,592 B2

       Reference(s)        Basis   Claims         Claims         Claims Not
                                                  Shown          Shown
                                                  Unpatentable Unpatentable
       Winquist,       § 103       10, 11, 14, 16 10, 11, 14, 16
       TROPIC Listing,
       and Tannock
       Winquist,       § 103       21, 26, 30    21, 26, 30
       TROPIC Listing,
       and Pivot
       Winquist,       § 103       15            15
       TROPIC Listing,
       Pivot, and
       Tannock



       Motion to Amend Outcome                           Claim(s)
       Original Claims Cancelled by Amendment            27–30
       Substitute Claims Proposed in the Amendment       31–34
       Substitute Claims: Motion to Amend Granted        31–34
       Substitute Claims: Motion to Amend Denied
       Substitute Claims: Not Reached


                                        ORDER
            It is hereby
            ORDERED that Petitioner has proven by a preponderance of the
      evidence that claims 1–5 and 7–30 of U.S. Patent No. 8,927,592 B2 are
      unpatentable;
            FURTHER ORDERED that proposed substitute claims 31–34 have
      not been shown to be unpatentable;
            FURTHER ORDERED that Patent Owner’s Contingent Motion to
      Amend claims 27–30 by replacing them with proposed substitute claims 31–
      34 is granted;


                                            31
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 166 of 167 PageID #: 1394

      IPR2016-00712
      Patent 8,927,592 B2
            FURTHER ORDERED that, pursuant to 35 U.S.C. § 318(b), upon
      expiration of the time for appeal of this decision, or the termination of any
      such appeal, a certificate shall issue canceling claims 1–5 and 7–30 of U.S.
      Patent No. 8,927,592 B2 and adding proposed claims 31–34; and
            FURTHER ORDERED that, because this is a Final Written Decision,
      parties to the proceeding seeking judicial review of the decision must
      comply with the notice and service requirements of 37 C.F.R. § 90.2.




                                            32
Case 1:20-cv-00804-RGA Document 107-1 Filed 09/09/20 Page 167 of 167 PageID #: 1395

      IPR2016-00712
      Patent 8,927,592 B2
      PETITIONER:
      Steven W. Parmelee
      Michael T. Rosato
      Jad A. Mills
      Wendy Devine
      Matthew Reed
      Nellie Amjadi
      WILSON SONSINI GOODRICH & ROSATI
      sparmelee@wsgr.com
      mrosato@wsgr.com
      jmills@wsgr.com
      wdevine@wsgr.com
      mreed@wsgr.com
      namjadi@wsgr.com



      PATENT OWNER:
      Daniel J. Minion
      Dominick A. Conde
      VENABLE LLP
      DMinion@Venable.com
      DConde@Venable.com




                                        33
